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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,
                                              No. 07 CR 410-20
      v.
                                              Hon. Harry D. Leinenweber
DAWNYA PARKER,
                     Defendant.


                                    ORDER

     Defendant Dawnya Parker has filed a motion for a reduction
of her sentence under 18 U.S.C. § 3582(c)(2). (ECF No. 1294).
Parker argues that she is entitled to a reduced sentence in
light of Amendment 782, in which the Sentencing Commission
reduced retroactively its Guideline ranges for quantity-based
drug offenses. For the reasons stated below, Parker’s motion is
denied.

     Parker pled guilty to using a telephone in connection with
a felony drug offense (Count One), and using a firearm in
furtherance of a drug trafficking crime (Count Two). Count One
carried a maximum term of imprisonment of 48 months. Count Two
carried a mandatory minimum term of imprisonment of five years
consecutive to any other sentence and a maximum penalty of life
imprisonment. At sentencing, Defendant’s base offense level was
32, which was then reduced by 7 levels, resulting in a total
combined offense level of 25. The Court also determined that
Defendant’s prior conduct placed her in Criminal History
Category I, resulting in a guideline range of 57 to 71 months.
However, because the statutory maximum sentence under Count One
was 48 months, the guideline range on that count was 48 months.
See U.S.S.G. § 5G1.1(a). Defendant was also subject to the
mandatory   minimum   sentence   of   60   months  on  Count   Two.
Ultimately,   the   Court   sentenced    Defendant  to  72   months
imprisonment — 12 months on Count One and 60 months on Count
Two.

     Defendant, who has already served her 12-month sentence on
Count One, has filed a motion for a reduction of sentence
pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment 782 to the
Sentencing Guidelines. The Court cannot reduce a sentence that
has   already  been  served.   Therefore,  a   motion  regarding
Defendant’s sentence on Count One is moot. Even if Defendant’s
motion is construed as a request for reduction of her 60-month

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sentence on Count Two, the Court may only reduce a defendant’s
sentence based on an amendment to the guidelines if the
amendment has “the effect of lowering the defendant’s applicable
guideline    range.”    U.S.S.G.    § 1B1.10(a)(2)(B).   Because
Defendant’s 60-month sentence on Count Two is a mandatory
minimum sentence, Amendment 782 has no effect on the defendant’s
sentencing range and no reduction of sentence may occur.

     For the reasons stated above, the Court denies Parker’s
motion for reduction of sentence.

SO ORDERED.

Dated: September 30, 2015


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                                          Harry D. Leinenweber, Judge
                                          United States District Court




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